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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOSEPH SIMMONS,                               :
     Plaintiff,                               :
                                              :
       v.                                     :       CIVIL ACTION NO. 21-CV-4962
                                              :
NANCY GIANETTA, et al.,                       :
    Defendants.                               :

                                             ORDER

       AND NOW, this 27th day of April, 2022, upon consideration of Plaintiff Joseph

Simmons’s Motion for Leave to Proceed In Forma Pauperis (ECF No. 1), Prisoner Trust Fund

Account Statement (ECF No. 3), and Complaint (ECF No. 2), it is ORDERED that:

       1.      Leave to proceed in forma pauperis is GRANTED.

       2.      Joseph Simmons, #QK-6813, shall pay the full filing fee of $350 in installments,

pursuant to 28 U.S.C. § 1915(b), regardless of the outcome of this case. The Court directs the

Superintendent of State Correctional Institution – Rockview or other appropriate official to

assess an initial filing fee of 20% of the greater of (a) the average monthly deposits to

Simmons’s inmate account; or (b) the average monthly balance in Simmons’s inmate account for

the six-month period immediately preceding the filing of this case. The Superintendent or other

appropriate official shall calculate, collect, and forward the initial payment assessed pursuant to

this Order to the Court with a reference to the docket number for this case. In each succeeding

month when the amount in Simmons’s inmate trust fund account exceeds $10.00, the

Superintendent or other appropriate official shall forward payments to the Clerk of Court

equaling 20% of the preceding month’s income credited to Simmons’s inmate account until the

fees are paid. Each payment shall refer to the docket number for this case.
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       3.      The Clerk of Court shall SEND a copy of this Order to the Superintendent of

State Correctional Institution – Rockview.

       4.      The Complaint is DEEMED filed.

       5.      For the reasons set forth in the Court’s Memorandum, Simmons’s Complaint is

DISMISSED IN PART WITH PREJUIDCE for failure to state a claim pursuant to 28 U.S.C.

§ 1915(e)(2)(B)(ii) with respect to the October 1, 2020 incident and subsequent disciplinary

proceedings as follows:

                 a. Simmons’s excessive force claims against Defendant Lieutenant

                     McHolland are DISMISSED.

                 b. Simmons’s due process claims against Defendant Jane Doe Grievance

                     Screening Officer regarding the grievance process are DISMISSED.

                 c. Simmons’s access to the courts claims against Defendants Nancy Gianetta

                     and Blanche Carney are DISMISSED.

                 d. Simmons’s request for declaratory relief is DISMISSED.

       6.      For the reasons set forth in the Court’s Memorandum, Simmons’s remaining

claims brought pursuant to 42 U.S.C. § 1983 arising from the October 1, 2020 incident and the

subsequent disciplinary proceedings will be permitted to PROCEED as follows:

                 a. Simmons’s Fourteenth Amendment claims for excessive force and failure

                     to intervene will proceed against Defendants Collier, Ventus, Peters, and

                     Miles.

                 b. Simmons’s Fourteenth Amendment due process claim will proceed against

                     Defendant John Doe Hearing Officer.




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       7.      For the reasons set forth in the Court’s Memorandum, Simmons’s § 1983 claims

arising out of the events of February 2021 and May 2021 are SEVERED from this case as set

forth in paragraphs eight and nine (8 & 9) of this Order.

       8.      The Clerk of Court is DIRECTED to OPEN a new civil action naming Joseph

Simmons as the Plaintiff and naming Officer Willson as the sole Defendant using a copy of this

Order and a copy of the Complaint filed in this action. To the extent Simmons seeks to proceed

on his claims regarding a February 2021 inmate assault, he must do so in the new civil action.

       9.      The Clerk of Court is DIRECTED to OPEN a second new civil action naming

Joseph Simmons as the Plaintiff and naming Blanche Carney as the sole Defendant using a copy

of this Order and a copy of the Complaint filed in this action. To the extent Simmons seeks to

proceed on his claims regarding the May 2021 deprivation of food, he must do so in the second

new civil action.

       10.     The Clerk of Court is DIRECTED to TERMINATE the follow individuals as

Defendants in this matter: (1) Defendant Lieutenant McHolland; (2) Defendant Jane Doe

Grievance Screening Officer; (3) Correctional Officer Willson; (4) Defendant Nancy Gianetta;

and (5) Defendant Blanche Carney.

       11.     The Clerk of Court shall issue summonses for Defendants Collier, Ventus, Peters,

Miles, and John Doe Disciplinary Hearing Officer. Service of the summonses and the

Complaint, along with copies of this Order and the Court’s accompanying Memorandum, shall

be made upon the Defendants by the U.S. Marshals Service. Simmons will be required to

complete USM-285 forms so that the Marshals can serve the Defendants. Failure to complete

those forms may result in dismissal of this case.

       12.     All original pleadings and other papers submitted for consideration to the Court in

this case are to be filed with the Clerk of Court. Copies of papers filed in this Court are to be
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served upon counsel for all other parties (or directly on any party acting pro se). Service may be

made by mail. Proof that service has been made is provided by a certificate of service. The

certificate of service should be filed in the case along with the original papers and should show

the day and manner of service. An example of a certificate of service by mail follows:

                    “I, (name), do hereby certify that a true and correct
                    copy of the foregoing (name of pleading or other paper)
                    has been served upon (name(s) of person(s) served) by
                    placing the same in the U.S. mail, properly addressed,
                    this (day) of (month), (year).
                    ____________________________________
                       (Signature)”

       13.     Any request for court action shall be set forth in a motion, properly filed and

served. The parties shall file all motions, including proof of service upon opposing parties, with

the Clerk of Court. The Federal Rules of Civil Procedure and Local Rules are to be followed.

Simmons is specifically directed to comply with Local Civil Rule 7.1 and serve and file a proper

response to all motions within fourteen (14) days. Failure to do so may result in dismissal.

       14.     Simmons is specifically directed to comply with Local Rule 26.1(f) which

provides that “[n]o motion or other application pursuant to the Federal Rules of Civil Procedure

governing discovery or pursuant to this rule shall be made unless it contains a certification of

counsel that the parties, after reasonable effort, are unable to resolve the dispute.” Simmons

shall attempt to resolve any discovery disputes by contacting Defendants’ counsel directly by

telephone or through correspondence.

       15.     No direct communication is to take place with the United States District Judge or

United States Magistrate Judge with regard to this case. All relevant information and papers are

to be directed to the Clerk of Court.




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       16.     In the event a summons is returned unexecuted, it is Simmons’s responsibility to

ask the Clerk of Court to issue an alias summons and to provide the Clerk with the Defendant’s

correct address, so service can be made.

       17.     The parties should notify the Clerk’s Office when there is an address change.

Failure to do so could result in court orders or other information not being timely delivered,

which could affect the parties’ legal rights.

                                                BY THE COURT:


                                                /s/ John M. Gallagher
                                                JOHN M. GALLAGHER, J.




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